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                IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF ALABAMA
                         NORTHERN DIVISION

BERNETTA LASHAY WILLIS,        )
                               )
         Petitioner/Defendant, )
                               )
    v.                         ) CR 2:06-cr-071-MEF-CSC-1
                               )
UNITED STATES OF AMERICA, )
                               )
         Respondent.           )

        UNITED STATES’S REPONSE TO § 3582(c)(1)(A) MOTION

COMES NOW the United States of America (Athe Government@) by and through

its attorneys, LOUIS V. FRANKLIN, SR. United States Attorney, and Brett J.

Talley, Assistant United States Attorney, and in compliance with this Court’s

December 23, 2019, Order (Doc. 387), respectfully submits this response in

opposition to Petitioner/Defendant Bernetta Lashay Willis’s Motion Under 18

U.S.C. § 3582(c)(1)(A) for modification of her sentence.

      Pursuant to the First Step Act of 2018, in order to receive relief under §

3582(c)(1)(A), the request must either come “upon motion of the Director of

the Bureau of Prisons” or “upon motion of the defendant after the defendant has

fully exhausted all administrative rights to appeal a failure of the Bureau of

Prisons to bring a motion on the defendant’s behalf. . . ” or after the Bureau has

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been guilty of undo delay. See, e.g., Cruz-Pagan v. Warden, FCC Coleman-Low,

486 F. App'x 77, 79 (11th Cir. 2012) (“The plain meaning of this section requires a

motion by the Director as a condition precedent to the district court before it can

reduce a term of imprisonment.”). The present motion comes to this Court via

Willis, not the Director of the Bureau of Prisons. Thus, to succeed, she must show

that she has fully exhausted all administrative remedies before the Court can

consider her request.

      Although no longer a jurisdictional requirement, petitioner’s failure to

exhaust administrative remedies bars relief. Santiago-Lugo v. Warden, 785 F.3d

467, 475 (11th Cir. 2015). Willis makes no claim that she has asked the Director of

the Bureau of Prisons to file a motion on her behalf. Moreover, she has not shown

that she has exhausted any administrative rights she might have to appeal the

Director’s refusal to file such a motion. Since Willis’s motion does not comport

with the requirements of § 3582(c)(1)(A), it is due to be denied.

      Even if Willis had exhausted her administrative remedies, she must still

show “extraordinary and compelling reasons” that her motion should be granted.

18 U.S.C. § 3582(c)(1)(A)(i). Although she may not be happy with her medical

care, the face of Willis’s motion demonstrates that she is receiving treatment from

doctors and nurses and that she has access to hospital facilities. Willis provides no

medical records to support a claim that she requires medical care above and

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beyond what she is receiving at this time. She provides no records to demonstrate

that she is being neglected or mistreated. And she certainly provides no evidence

that she is eligible for a sentencing reduction or compassionate release. Willis has

failed to show extraordinary and compelling reasons that her claims have merit.

      The Court should deny Willis’s § 3582(c)(1)(A) motion.

      Respectfully submitted this 31st day of December, 2019.

                                 LOUISV. FRANKLIN SR.
                                 UNITED STATES ATTORNEY

                                 /s/ Brett J. Talley
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BERNETTA LASHAY WILLIS,                      )
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               Petitioner/Defendant,          )
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       v.                                     ) CR 2:06-cr-071-MEF-CSC-1
                                             )
UNITED STATES OF AMERICA,                     )
                                              )
               Respondent.                    )

                                    CERTIFICATE OF SERVICE

       I hereby certify that on December 31, 2019, I electronically filed the foregoing response

with the Clerk of the Court using the CM/ECF system and mailed, postage prepaid, a copy of the

same to the pro se Petitioner as follows:

               Bernetta Willis
               Reg. No. 11880-002
               Carswell Federal Medical Center
               Inmate Mail/Parcels
               P. O. Box 27237
               Fort Worth, TX 76127
                                           Respectfully submitted,

                                            LOUIS V. FRANKLIN SR.
                                            UNITED STATES ATTORNEY

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